                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )       NO. 3:12-00044
                                                   )       JUDGE CAMPBELL
L. BRIAN WHITFIELD, et al.                         )

                                            ORDER

         Pending before the Court is Marsha T. Whitfield’s Motion to Enlarge Time Within Which

to File Pretrial Motions (Docket No. 28). The Motion is GRANTED.

         The deadline for filing pretrial motions for ALL Defendants is extended to November 1,

2012.

         It is so ORDERED.

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                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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